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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                              CASE NO.: 6:18-bk-01775-CCJ
                                                                                      CHAPTER 7
 James E. Lamca,
          Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington
           Street, Suite 5100, Orlando, FL 32801 and serve a copy on the movant’s attorney,
           Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL, 6409
           Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate persons
           within the time allowed. If you file and serve a response within the time permitted,
           the Court will either schedule and notify you of a hearing, or consider the response
           and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), James E. Lamca, filed a voluntary petition pursuant to Chapter 13 of the

       United States Bankruptcy Code on March 29, 2018. An order converting the case to a

       case under Chapter 7 was entered on August 20, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

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   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On August 12, 2018, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $116,000.00 to

   Countrywide Bank, FSB. The Mortgage was recorded on August 27, 2008 in Book 4178

   at Page 195 of the Public Records of Lowndes County, Georgia. The loan was transferred

   to Secured Creditor. True and accurate copies of documents establishing a perfected

   security interest and ability to enforce the terms of the Note are attached hereto as

   Composite Exhibit “A.” The documents include copies of the Note with any required

   indorsements, Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable

   documentation supporting the right to seek a lift of the automatic stay and foreclose, if

   necessary.

5. The terms and conditions of the Note and Mortgage were later amended pursuant to the

   Loan Modification Agreement (“Agreement”) made December 31, 2012. Said Agreement

   created a new principal balance of $115,567.82. A true and accurate copy of the

   Agreement is attached hereto as Composite Exhibit “A”.

6. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,

   judgements, mortgages, and security agreements in support of right to see a lift of the


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   automatic stay and foreclose if necessary.

7. The mortgage provides Secured Creditor a lien on the real property located at 4424

   Mayfield Lane, Valdosta, Georgia 31601 In Lowndes County, and legally described as

   stated in the mortgage attached in Composite Exhibit “A.”

8. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since November 1, 2017.

9. The appraised value of the property is $119,575.00 See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

10. Based upon the Debtor(s)’ schedules, the property is claimed as non-exempt. The Trustee

   has not abandoned the property.

11. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

12. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

13. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor


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   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

14. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

15. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

   incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

   and protecting the property, all of which additional sums are secured by the lien of the

   mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

   alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

   pending or subsequent foreclosure proceeding.

16. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.




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       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: September 6, 2018

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Authorized Agent for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909

                                             By: _/s/ Shreena Augustin___________
                                                 Shreena Augustin, Esquire
                                                 Email: saugustin@rasflaw.com
                                                 FL Bar Number: 0117598


                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on September 6, 2018, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

served via CM/ECF or United States Mail to the following parties:

James E. Lamca
1142 East Normandy Boulevard
Deltona, FL 32725

Stacy A Eckert
Stacy A Eckert PA
2445 South Volusia Avenue
Suite C-1
Orange City, FL 32763
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Gene T Chambers
Post Office Box 533987
Orlando, FL 32853

United States Trustee - ORL7/13, 7
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                          ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                          Authorized Agent for Secured Creditor
                                          6409 Congress Ave., Suite 100
                                          Boca Raton, FL 33487
                                          Telephone: 561-241-6901
                                          Facsimile: 561-997-6909

                                          By: _/s/ Shreena Augustin___________
                                              Shreena Augustin, Esquire
                                              Email: saugustin@rasflaw.com
                                              FL Bar Number: 0117598




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                                                  Lowndes County, GA

     Summary
        Parcel Number                0145D 189
        Location Address             4424 MAYFIELD LN
        Legal Description            LT 7 BLK C SUMMERFIELD P4
                                     (Note: Not to be used on legal documents)
        Class                        R3-Residential
                                     (Note: This is for tax purposes only. Not to be used for zoning.)
        Tax District                 04-Basic Decorative Lighting (District 04)
        Millage Rate                 26.952
        Acres                        0.47
        Homestead Exemption          No (S0)
        Landlot/District             146 / 11

        View Map




     Owner
        LAMCA PATRICIA A & JAMES E
        4424 MAYFIELD LANE
        VALDOSTA, GA 31605

     Residential Improvement Information
        Style                             One Family
        Heated Square Feet                1690
        Interior Walls                    Sheetrock
        Exterior Walls                    Comp / Hardboard Siding
        Foundation                        Concrete Wall or Masonry
        Attic Square Feet                 0 
        Basement Square Feet              0 
        Year Built                        1992
        Roof Type                         Asphalt Shingles
        Flooring Type                     Carpet Tile
        Heating Type                      CH AC
        Number Of Rooms                   0
        Number Of Bedrooms                0
        Number Of Full Bathrooms          2
        Number Of Half Bathrooms          0
        Number Of Plumbing Extras         3
        Value                             $82,325
        Condition                         Average
        Fireplaces/Appliances             Pre-fab 1 sty 1 Box 1


     Accessory Information
            Description                                                       Year Built                 Dimensions/Units                 Identical Units                 Value
            24 Garage                                                         1997                       16x26 / 416                      0                               $5,750
            J5 Septic system                                                  1900                       0x0 / 1                          0                               $2,000
            BASIC DECORATIVE LIGHTING                                                                    0x0 / 0                          1                               $0


     Sales
                          Deed Book /         Plat Book /              Sale
            Sale Date     Page                Page                    Price Reason                                          Grantor                         Grantee
            8/30/2006     3592 060            G 145              $113,000 XXUI Sales In Which A Fin Inst Is                 CITIFINANCIAL SERVICES          LAMCA PATRICIA A & JAMES E
                                                                          Buyer/Seller                                      INC
            6/6/2006      3493 111            G 145              $105,000 XXUI Sales In Which A Fin Inst Is                 DARSEY, JOHN A II & BARB        CITIFINANCIAL SERVICES INC
                                                                          Buyer/Seller
            3/7/2000      1834 0073           G 145              $102,000 Fair Market - Improved                            NIFONG, DALE B &                DARSEY, JOHN A II & BARB
            8/31/1994     1129 126                                $84,874 Non-Market                                                                        NIFONG, DALE B & CATHY
            12/22/1992 945 332                                    $81,770 Non-Market                                                                        RENDE, SAMUEL G
            9/15/1992     919 112                                        $0 Non-Market                                                                      STOKER DEVELOPMENT
                                                                                                                                                            GROUP




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     Valuation
                                                                          2018              2017              2016           2015
                    Previous Value                                     $119,575          $119,575          $124,008       $124,008
                    Land Value                                          $29,500           $29,500           $29,500        $29,500
            +       Improvement Value                                   $82,325           $82,325           $82,325        $86,508
            +       Accessory Value                                      $7,750            $7,750            $7,750         $8,000
            =       Current Value                                      $119,575          $119,575          $119,575       $124,008


     Photos




     Sketches




https://qpublic.schneidercorp.com/Application.aspx?AppID=631&LayerID=11201&PageTypeID=4&PageID=4604&Q=996701088&KeyValue=0145D+189   2/3
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      No data available for the following modules: Land, Rural Land, Conservation Use Rural Land, Commercial Improvement Information, Mobile Homes, Prebill Mobile Homes,
      Permits.

     The Lowndes County Board of Assessors makes every effort to produce the most accurate information possible. No warranties, expressed or               Developed by
     implied, are provided for the data herein, its use or interpretation. The assessment information is from the last certi ed tax roll. Sales
     information is updated each month. All other data is subject to change.

     Last Data Upload: 8/31/2018, 8:10:25 AM




https://qpublic.schneidercorp.com/Application.aspx?AppID=631&LayerID=11201&PageTypeID=4&PageID=4604&Q=996701088&KeyValue=0145D+189                                          3/3
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                        CASE NO.: 6:18-bk-01775-CCJ
                                                                                CHAPTER 7
 James E. Lamca,
        Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a
Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. __). No appropriate
response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 4424 Mayfield Lane, Valdosta, Georgia
       31601 In Lowndes County, Georgia , and legally described as:

                                               1
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               ALL THAT TRACT OR PARCEL OF LAND SITUATE, LYING AND BEING
               IN LAND LOT 146 OF THE 11TH LAND DISTRICT OF LOWNDES
               COUNTY, GEORGIA, MORE PARTICULARLY DESCRIBED AS ALL OF
               LOT 7 IN BLOCK C OF SUMMERFIELD SUBDIVISION, PHASE FOUR, AS
               SHOWN ON A MAP OR PLAT RECORD G, PAGE 145, PUBLIC RECORDS
               OF LOWNDES COUNTY, GEORGIA, TO WHICH PLAT AND THE RECORD
               THEREOF REFERENCE IS HEREBY MADE FOR ALL PURPOSES OF
               DESCRIPTION. SAID PROPERTY HAS A RESIDENCE DWELLING
               LOCATED THERON KNOWN AND DESIGNATED AS 4424 MAYFIEL
               LAND ACCORDING TO THE PRESENT SYSTEM OF NUMBERING
               HOUSES IN LOWNDES COUNTY, GEORGIA.

               THIS DEED IS GIVEN SUBJECT                     TO    ALL     EASEMENTS         AND
               RESTRICTIONS OF RECORD, IF ANY.

               ADDRESS: 4424 MAYFIELD LANE; VALDOSTA, GA 31601 TAX MAP OR
               PARCEL ID NO.: 0145D-189

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                                ###
Attorney, Shreena Augustin, is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.




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